Case 2:05-md-01657-EEF-DEK

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JOSE ACOSTAS and
LOURDES ACOSTAS, et al.,

Plaintiffs,
Vv.
MERCK & CO., INC., et al.,

Defendants.

IN THE UNITED STATES
DISTRICT COURT FOR THE
EASTERN DISTRICT OF LOUISIANA

DOCKET NO. 2:06-cv-02203-EEF-DEK

STIPULATION OF DISMISSAL
WITH PREJUDICE AS TO
ALL DEFENDANTS

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Pursuant to Rule 41, Fed.R.Civ.P., the undersigned counsel hereby stipulate

that all claims of plaintiffs, LARRY P. RICE and NELLIE RICE, against defendants

Merck & Co., Inc., Merck Frosst Canada, Ltd., Does 1-100, and all other named defendants

be dismissed in their entirety with prejudice, each party to bear its own costs.

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10/16/2008
Dated:

Ghd

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Dated: [-Y+O

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CERTIFICATE OF SERVICE

I hereby certify that the above and foregoing Stipulation of Dismissal With
Prejudice as to All Defendants has been served on Liaison Counsel, Russ Herman and Phillip
Wittmann, by U.S. Mail and e-mail or by hand delivery and e-mail and upon all parties by
electronically uploading the same to LexisNexis File & Serve Advanced in accordance with Pre-
Trial Order No. 8B, and that the foregoing was electronically filed with the Clerk of Court of the
United States District Court for the Eastern District of Louisiana by using the CM/ECF system

which will send a Notice of Electronic Filing in accord with the procedures established in MDL

1657, on this 16th day of November, 2010.

/s/ Stephen G. Strauss

Stephen G. Strauss

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